Case 6:22-cv-02192-WWB-RMN Document 84 Filed 10/23/23 Page 1 of 4 PageID 3617




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

  DENNIS SCOTT, CHAD DRIGGERS,
  DOUGLAS WILLIS, and GEORGE
  ROWLAND,
           Plaintiffs,
      v.                                         Case No.: 6:22-cv-2192-WWB-RMN

  CITY OF DAYTONA BEACH, FLA.,
            Defendant.
  _______________________________/

             PLAINTIFFS’ TIME SENSITIVE SECOND MOTION TO COMPEL

        Plaintiffs challenge the constitutionality of Defendant’s panhandling ordinance. On

 March 14, 2023, Plaintiffs served a Request for Production of Documents (ECF 61-1) and

 Interrogatories (ECF 61-2). Among other things, Plaintiffs requested written warnings,

 CAD reports, field contact reports, and field interview reports regarding the ordinance.

 (ECF 61-1, Requests 1, 2.) Plaintiffs also requested police and fire reports relevant to the

 Defendant’s justifications for the ordinance. (Id., Requests 14-18, 22.) Plaintiff also

 propounded interrogatories asking whether warnings had been issued to the Plaintiffs,

 (ECF 61-2, Interrogatories 2-5), and to identify instances which supported Defendant’s

 justifications. (Id., Interrogatories 15-18.)

        Defendant initially claimed that it could not produce the records because its

 databases were not searchable. (ECF 63-1 ¶9; ECF 63-2 ¶8.) After the Court held a

 hearing on Plaintiffs’ Motion to Compel (ECF 61) on July 24, 2023, Defendant indicated

 it would hire an electronic discovery vendor to search Defendant’s databases and compile

 responsive records.
Case 6:22-cv-02192-WWB-RMN Document 84 Filed 10/23/23 Page 2 of 4 PageID 3618




        It took Defendant approximately a month to hire the vendor. Ever since that time,

 Defendant has expressed a willingness to produce the records, but has not actually done

 so. Initially, the vendor had to receive security clearance, which was received by

 September 21, 2023, yet the vendor did not actually begin work until October 9, 2023. On

 October 10, 2023, defense counsel represented that documents were ready to be

 produced, but that a protective order was necessary. The Court entered an order on

 October 15, 2023. (ECF 83.) Since then, the Defendant’s e-vendor has delivered several

 spreadsheets that appear to list reports, and a few spreadsheets containing narrative data

 from the reports, but no actual reports. And the data in those spreadsheets does not

 capture all the information from each report.

        To date, Defendant has produced a litany of excuses but no reports. Plaintiffs have

 been reluctant to get the Court involved because Defendant has stated that the records

 would be produced. However, the case is now less than two weeks away from the end of

 discovery. Moreover, the Plaintiffs have noticed a deposition pursuant to Fed. R. Civ. P

 30(b)(6) on October 26, 2023. The City's failure to produce records in a timely manner

 means that it will be impossible for Plaintiffs to be properly prepared to question the City's

 30(b)(6) representative.

        WHEREFORE, Plaintiffs respectfully request this Court (1) order Defendant to

 produce the police and fire department reports that are responsive to Plaintiffs’ Requests

 for Production on or before October 27, 2023, (2) order Defendant to provide responsive

 answers to Interrogatories 2-5 and 15-18 on or before October 27, 2023, (3) grant

 Plaintiffs leave to resume the deposition of the City’s representative pursuant to Fed. R.

 Civ. P. 30(b)(6) after they have reviewed the records produced, even if outside the

 discovery deadline and even if the deposition has already gone for seven hours, (4) award
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Case 6:22-cv-02192-WWB-RMN Document 84 Filed 10/23/23 Page 3 of 4 PageID 3619




 Plaintiffs the attorneys’ fees and costs incurred in bringing this motion, and (5) order any

 other relief the Court finds just and proper.



 Dated: October 23, 2023             Respectfully submitted,

                                     /s/ Daniel Marshall
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                                     ATTORNEYS FOR PLAINTIFFS



                          LOCAL RULE 3.01(g) CERTIFICATION

          I hereby certify that undersigned counsel has conferred with opposing counsel,

  via telephone, regarding this motion. Defendant does not object to the Plaintiffs’ request

  to resume the 30(b)(6) deposition after reviewing the reports once they have been

  produced, as long as it is not a new, seven-hour deposition. Defendant objects to the

  other relief requested in this motion.

                                      /s/ Daniel Marshall
                                      Attorney for Plaintiffs

                                                 3
Case 6:22-cv-02192-WWB-RMN Document 84 Filed 10/23/23 Page 4 of 4 PageID 3620




                           CERTIFICATE OF WORD COUNT

         As required by this Court’s Standing Order on Discovery, I certify that this Motion

 contains 500 words.

                                    /s/ Daniel Marshall
                                    Attorney for Plaintiffs



                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Plaintiffs’ Motion to

 Compel was served on all counsel of record through the ECF system this 23rd day of

 October, 2023.

                                    /s/ Daniel Marshall
                                    Attorney for Plaintiffs




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